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                      Exhibit 3
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman;          )
Maria Valencia and Jeremiah Jurevis;                 )       No. 18-cv-03424
              Plaintiffs,                            )
v.                                                   )       Honorable John Robert Blakey
                                                     )
Chicago Park District and City of Chicago,           )       Jury Demanded
             Defendants.                             )



PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO CHICAGO PARK DISTRICT

       Now come the Plaintiffs, Protect Our Parks, Inc.; Charlotte Adelman; Maria Valencia and

Jeremiah Jurevis, through their undersigned attorneys, and pursuant to Rule 33 of the Federal

Rules of Civil Procedure request that the Defendant, Chicago Park District, answer the following

Interrogatories within 30 days from service of this Plaintiffs’ First Set Of Interrogatories To

Chicago Park District.


                                         DEFINITIONS

       The term "person" refers to both natural persons and to corporate or other business

entities, whether or not in the employ of the Chicago Park District.
       To "identify a person" means to state the person's name, business address and telephone

number and, additionally, in the case of a natural person, his home address, employer, present

occupation, job title and telephone number.

       “You” or “yours” shall mean the Chicago Park District.




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                                      INTERROGATORIES


       1.        Identify by name, title, address and telephone number, all persons answering these

interrogatories.

ANSWER:


       2.        Identify all evidence you intend to introduce at any hearing or trial in this case,

including but not limited to the names, addresses and last known addresses of all witnesses, the

expected testimony of such witnesses and a description of all documents you intend to present

into evidence.


ANSWER:

       3.        Identify each person whom you believe has knowledge regarding the allegations

contained in Plaintiff’s Complaint, or your Answer and Affirmative Defenses to the Complaint,

and state the nature, scope and extent of each such person’s knowledge.

ANSWER:

       4.        Identify each person, including each and every expert or potential expert, that you

have contacted regarding any of the matters that are or may be at issue based upon any of the

allegations or defenses included in the Plaintiff’s Complaint or your Answer and Affirmative

Defenses to the Complaint, and, with respect to each such person:


   a. Identify and describe the nature, scope and extent of each such person’s knowledge;

   b. Identify each opinion, comment and/or communication made by or to that person

       regarding any of the matters that are or may be at issue in this litigation;

   c. State the basis for each such opinion and/or communication referenced in subpart b

       hereof;


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   d. If that person is expected to testify in this matter, sate the substance of that person’s

      testimony;

   e. Identify all written reports or memoranda which that person prepared in connection with

      this case;

   f. Attach to your interrogatory answers copies of any written reports prepared in connection

      with this case;

   g. For all matters in which such person has given testimony in the last 10 years, identify the

      case name, case number, court where the action was/is pending, and the substance of that

      person's testimony and opinions; and

   h. Identify all articles, books, literature and other publications or papers on which that

      person will rely in connection with this case.


ANSWER:


                                             Respectfully submitted,

                                             /s/ Mark D. Roth
                                                 Mark D. Roth




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                                   PROOF OF SERVICE

       I, Mark Roth, an attorney, certify that I served the Plaintiffs’ First Set Of

Interrogatories To Chicago Park District by email transmission from mark@rothfioretti.com

to the following persons at their email addresses shown below on or before 5:00 pm. on October

23, 2018.




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 Elizabeth Meyer Pall                                                  Chicago Park District
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                                                  /s/Mark Roth
                                                     Mark Roth

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